       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

                       PERRY M. FLETCHER,
                            Appellant,

                                    v.

                        STATE OF FLORIDA,
                             Appellee.

                          No. 4D2024-1111

                          [August 22, 2024]

   Appeal of order denying rule 3.850 motion from the Circuit Court for
the Seventeenth Judicial Circuit, Broward County; Thomas J. Coleman,
Judge; L.T. Case Nos. 14-6219CF10A and 14-7755CF10A.

  Perry M. Fletcher, Indiantown, pro se.

  No response required for appellee.

PER CURIAM.

  Affirmed.

WARNER, FORST and ARTAU, JJ., concur.

                          *          *          *

  Not final until disposition of timely filed motion for rehearing.
